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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MISSOURI
                            EASTERN DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
                   Plaintiff,                )
                                             )
v.                                           )      Case No. 4:20CR201 HEA
                                             )
CARLOS JONES,                                )
                                             )
                   Defendant.                )

                  OPINION, MEMORANDUM AND ORDER

      This matter is before the Court on the Report and Recommendation of

Magistrate Judge Shirley Padmore Mensah, addressing Defendant Jones’ Motion

to Sever, [Doc. No. 106], Motion to Suppress Evidence Seized and Statements

Made During Execution of Search Warrant, [Doc. No. 107], and Motion to

Produce Identity of a Confidential Source, [Doc. No. 108]. In her April 14, 2021

Report and Recommendation, Judge Mensah recommended that the Defendant’s

motions be denied. Defendant has filed a written objection to this recommendation.

For the reasons set forth below, the Court adopts Judge Mensah’s recommendation.

                                LEGAL STANDARD

      When a party objects to the magistrate judge’s report and recommendation,

the Court must conduct a de novo review of the portions of the report, findings, or

recommendations to which the party objected. See United States v. Lothridge, 324
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F.3d 599, 600 (8th Cir. 2003) (citing 28 U.S.C. § 636(b)(1)(A)). Where it has been

shown that the magistrate judge’s order is clearly erroneous or contrary to law, the

Court may reconsider the matter. 28 U.S.C. §636(b)(1)(A). Pursuant to 28 U.S.C. §

636(b)(1)(C), the Court reviews the findings of the magistrate de novo. The Court

has reviewed the entire record for this purpose.

                                  DISCUSSION

      In her Report and Recommendation, Judge Mensah found that the motion to

sever is not yet ripe for determination. Judge Mensah found that Defendant Jones

lacks standing to challenge the search warrant because he failed to establish he

personally had an expectation of privacy in the place searched. United States v.

Russell, 847 F.3d 616, 618 (8th Cir. 2017). Finally, Judge Mensah recommended

denial of the Motion to Produce Identity of a Confidential Source because the

Government has agreed to produce the identity, therefore, the motion is moot.

      Defendant’s objections to the Report and Recommendation are virtually

identical to his memoranda in support of his motions. He does not specifically

object to Judge Mensah’s findings of fact and conclusions of law. Judge Mensah

thoroughly discusses the facts and law in her Report and Recommendation.

Defendant does not challenge these findings, rather, he reargues his motion. Judge

Mensah addressed the issues and arguments Defendant raised in his motions. Her




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conclusions of law are based on sound analysis of the law as applied to the facts of

this case.

      At this stage of the proceedings, the Court agrees with Judge Mensah that

the Motion to Sever is not yet ripe for determination. For the reasons set forth by

Judge Mensah, the Motion will be denied, without prejudice.

      With regard to Defendant’s Motion to Suppress, Defendant has failed to

present any evidence that he personally had an expectation of privacy in Piazza or

any of the items seized or searched . He has stipulated that he did not have

ownership in Piazza or any of the seized or searched items. He further stipulated

that the search by the ATF was not of any areas of which he had exclusive use; he

did not have an office, locker or desk that was only his to use. The spaces were

accessible to multiple people, including most of the employees. Defendant had no

reasonable expectation of privacy in any places or items searched. The Motion to

Suppress Evidence will be denied. As to statements made, Defendant bases his

entire argument on the assumption that the search was illegal. In that he cannot

challenge the search, Defendant’s dependent argument on statements made is

likewise without merit.

      The Government will produce the identity of its source. Defendant’s Motion

to Identify is therefore moot.

                                    Conclusion


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      Judge Mensah’s conclusions are based on sound legal analysis. The Court

agrees with Judge Mensah’s conclusions in their entirety. The Recommendation is

adopted in toto.

      Accordingly,

      IT IS HEREBY ORDERED that Defendant Jones’ Motion to Severe,

[Doc. No. 106], is denied without prejudice to refiling at trial if the Government

intends to offer unredacted statements of a co-defendant which names or identifies

Defendant Jones.

      IT IS FURTHER ORDERED that Defendant Jones’ Motion to Suppress

Evidence Seized and Statements Made During Execution of Search Warrant, [Doc.

No. 107], is denied.

      IT IS FURTHER ORDERED that Defendant Jones’ Motion to Produce

Identity of a Confidential Source, [Doc. No. 108], is denied as moot.

      Dated this 5th day of May, 2021.




                                ________________________________
                                  HENRY EDWARD AUTREY
                                UNITED STATES DISTRICT JUDGE




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